                                  CASE 0:20-cr-00113-DSD-BRT Doc. 11 Filed 07/02/20 Page 1 of 1

                                               IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                                )    COURT MINUTES – CRIMINAL (via video
                                                         )               conference)
                                      Plaintiff,         )               BEFORE: Hildy Bowbeer
                                                         )                 U.S. Magistrate Judge
   v.                                                    )
                                                         )   Case No:           20-mj-480 DTS
Mohamed Hussein Abdi,                                    )   Date:              July 2, 2020
                                                         )   Video Conference
                                      Defendant.         )   Court Reporter:    Carla Bebault
                                                             Time Commenced:    9:03 a.m.
                                                             Time Concluded:    9:19 a.m.
                                                             Time in Court:     16 minutes


                 x PRELIMINARY/DETENTION HRG
                    Time in Court Prelim/Det: 4 minutes/ 12 minutes

APPEARANCES:

   Plaintiff: Melinda Williams, Assistant U.S. Attorney
   Defendant: Lisa Lopez, Assistant Federal Public Defender
                         X FPD




On          X Complaint

X Personal Recognizance Bond set with conditions, see Order Setting Conditions of Release.

X Probable cause found. Deft bound over to District Court of Minnesota



Additional Information:

X Defendant consents to this hearing via video conference.

Defendant waives the preliminary hearing.



                                                                                                  s/Sarah Erickson
                                                                                    Signature of Courtroom Deputy




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